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UNITED STATES DISTRICT COURT                                                       EI                      '.~ 1
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SOUTHERN DISTRJCT OF NEW YORK                                                     DOC       ______"______"_
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                                                                                                                             .::J
MARK NUNEZ. et al.,
                                                     Plaintiffs,
                                                                              ll-CY-5845 (L TS) (lCF)
                           -against-


CITY OF NEW YORK, et aL
                                                    Defendants


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                             AMENDED PROTECTIVE ORDER
                        CONCERNING CONFIDENTIAL INFORlVIATION
                  WHEREAS, preparation for trial and trial of the above-captioned action may

require the discovery, production and lise of documents that contain information deemed

confidential or otherwise deemed inappropriate for public disclosure; and

                  WHEREAS, good cause exists for the entry of an order in the above-captioned

lawsuit, pursuant to Rule 26(c) of the Federal Rules of Civil Procedure:

                 NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

                  1.      Disclosure of protected health information, as defined in 45 C.F.R. §§160

  164 (HIPAA), and sensitive health information under New York State laws, including but not

limited to New York Public Health Law §§ 18,2782 and 2784 and New York Mental Hygiene

Law §§ 22.05, 33.13 and 33.16 (such documents collectively "Protected Health Materials")is

subject to and pursuant to the provisions ofthis Order and is in the interest ofjustice.

                 2.       As used herein, the term "Action" shall mean the lawsuit captioned above.

"Contldential Materials" shall mean:
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                              (a)     all medical records concerning plaintiffs, as well as plaintiffs'

              home addresses, telephone numbers, social security numbers, and dates of birth, as well

              as all medical records concerning non-parties;


                              (b)     all New York City Department of Correction ("DOC") employees'

              home addresses, telephone numbers, social security numbers, dates of birth, worker's

              compensation records, and medical records;


                              (c)     all DOC employees' personnel records            and information

              relating to their employment histories;


                              (d)     photographs, videotapes, and diagrams showing DOC facHities and

              statl;


                              (e)     all documents that concern the location of stationary video cameras

              in DOC facilities;


                              (f)     information obtained as a result of a physical inspec~ion of DOC

              faciliti.::s that would hreach safety and security of the facilities;


                              (g)     DOC Log Books to the extent that they retlect detailed information

              of movement of staff and inmates;


                              (h)     security reports, security information, training materials,

              memoranda and other writings setting forth DOC policy and procedures, to the extent that

              llJ\;:sc; documents provide specific operational guidance to DOC staff that, if disclosed,

              would jeopardize the safety and security of DOC staff or prisoners: and



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                       (i)     all reports, summaries, tabulations or compilations of data,

        including all use of force reports, Investigation Division records, Directive # 5003

        records and logs, Gang Intelligence Unit records and all similar records, to the extent

        slIch documents name or otherwise identify individual DOC staff members, \\/110 are not

        namcd defendants in this action, in connection with allegations of improper L1ses of

        force/chemical agents or any other type of misconduct.

               Documents and information shall not be deemed "Confidential !\1aterial          to the

extent that they are otherwise pUbliciy available.

               3.      Neither piaintiffs' nor defendants' attorneys shall Llse the Confidential

Materials for any purpose other than for the preparation or presentation of their case in the

Action, except that nothing herein shuillimit a party's use of its own Confidential Materials.

               4.      In order to designate documents or other material as "Confidential" within

the meaning of this Protective order, the Producing Party may affix the legend "Confidential" to

the documents or material in a manner so as not to interfere with the legibility thereof, and/or

may designate such documents by title, Bates number or other method reasonably calculated to

give the Receiving Party notice of the confidentiality designation, in a writing directed to the

Receiving Palty' s attorneys. The Producing Pmty may designate as "Confidential" any

documents or material pursuant to this Order within a reasonable time after production of such

documents or material (which shall not exceed sixty (60) days after production, absent

compe II ing and unusual circumstances).

               5.      lfthe Receiving Party objects to the designation ofpmticular documents

as "Confidential Materials," they shall state sueh objection and the basis for their objection in

writing to the Producing Pmty within sixty (60) days of the date of production (or designation, if



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later designated pursuant to paragraph 3) and the parties shall endeavor in good faith to resolve

such objection. If such objection cannot be resolved within thirty (30) days after the Producing

Party receives the Receiving Pmiy's objections, then the Producing Party shall, within thirty (30)

days thereafter, move for an order approving such designation. Absent compelling and unusual

circumstances, failure to comply with the deadlines in this paragraph 4 shall constitute

abandonment of that party's right to object or move, as the case may be.

                6.     Attorneys for a Receiving P:uiy shall not disclose the Confldenti31

l'.1atcrials to any person other than a party, attorneys for that Party or any member of the stafT of

those attorneys' office or firm, except under the fol!owing conditions:


                       (a)     Disclosure before trial may be made only to the parties in this

       action and their attorneys (and staff employed by those attorneys' office or firm), to an

       expert who has been retained or specially employed by a party's attorneys in anticipation

       oflitigation or preparation for trial of the Action, to a witness at a deposition, or to the

       Court.


                       (b)     Before any disclosure is made to an expert described in

       subparagraph (a) above, the Receiving Pmiy's attorneys shall provide each sLlch expert

       with a copy ofthis Stipulation and Protective Order, and such expert shall consent in

       writing, in the form annexed hereto as Exhibit A, not to use the Confidential Materials for

       any purpose other than in connection with the prosecution or defcnse of the Action and

       not to further disclose the Confidential Materials except in testimony taken in this Action.

       The signed consent shall be retained by that party's attorneys and a copy shall be

       fllrnished to the Producing Party upon rcquest, but only with respect to those witnesses

       who are identifie~ by a party pursuant to Rule 26(a)(2)      the Federal Rules of Civil

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        Procedure. Nothing in this provision shall require disclosure by a party of the identity of

        non-testifying experts and/or consultants.

                7.      Deposition testimony concerning any Confidential Materials that reveals

the contents of such materials may be marked or designated "Contidential." If any Confidential

Material is an exhibit to a deposition, that exhibit shall be deemed ·'Confidential." Such portion

of the transcript and exhibits shall be Confidential Materials within the meaning of this

Protective Order.

                X.      If any paper which incorporates any Confidential Materials or reveals the

contents thereof is filed in this Court, those portions of the papers shaH he delivered to the Court

in accordance with the instructions of the Southern District of New York for filing documents

under seal.

                9.     Nothing in this Protective Order shall preclude a party from using, for any

purpose outside this litigation, documents that party produced, or deposition testimony that party

alone has designated (and no other party has designated), as Confidential Materials.

                [0.    Notwithstanding the foregoing provisions, where the Confidential Material

is not relevant to issues addressed in court submissions and the parties agree in writing that the

redaction of confidential information would be sufficient to protect the interests of the Producing

Party, the parties may tile redacted documents without further order of the Court.

                11.    Nothing in this Protective Order shall be construed to limit plaintiffs' or

defendants' right to object to lise of the Confidential Materials in any manner.

                12.    Within sixty (60) days after the termination of this Action, including any

appeals. the Confidential lvlatcrials shall bc returned to their sources, subject to a party

demonstrating good caLIse why certain particular Confidential Materials should nor be returned,



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   but rather retained. A paJ1y may instead destroy all Confidential Materials, and certify sllch

   destruction to the Producing Parties.

          IT IS FURTHER ORDERED THAT this Amended Protective Order Concerning

   Confidential Information shall supersede the October 15,2012 Protective Order, which is hereby


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f:,tcd: New York, New York

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   SO ORDERED:




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                                          EXHIBIT A

                 The undersigned hereby acknowledges that he/she has read the Amended

Protective Order Concerning Confidential Information entered in the United States District Court

for the Southern District of New York in the action entitled Nunez v. City ofNe\\' York. et aL !

l-cv-5845 (LTS) (JCF), and understands the terms thereof. The undersigned agrees not to use the

Confidential Materials defined therein for any purpose other than in connection with the

prosecution of this case, and will not disclose the Confidential Materials except in testimony

taken in this ca<;e.


Date                                                             Signature


                                                                 Print Name


                                                                 Occupation




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